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 2JS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Matt Nasuti                                                                                                      Walmart, Inc.

      (b) County of Residence of First Listed Plaintiff               Lawrence                                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

Matt Nasuti, pro se, 810 North Main Street, #221, Spearfish, SD       Christopher R. Hedican, Baird Holm LLP, 1700 Farnam St.,
57783, (413) 772-9802                                                 Ste. 1500 Omaha NE 68102 (402) 636-8311
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only)     III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                        29 U.S.C. § 1601 et seq
 VI. CAUSE OF ACTION Brief description of cause:
                       Plaintiff alleges age discrimination and wrongful discharge from employment
 VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION      DEMAND $                   CHECK YES only if demanded in complaint:
      COMPLAINT:           UNDER F.R.C.P. 23                                             JURY DEMAND:         ✔
                                                                                                              u Yes     u No
 VIII. RELATED CASE(S)
                         (See instructions):
       IF ANY                                JUDGE                                   DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   04/03/2020                                                             s/Christopher R. Hedican
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
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JS 44 Reverse (Rev. 12/07)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION


MATT NASUTI,                                                        20-5023
                                                          CASE NO. __________
               Plaintiff,

v.                                                        NOTICE OF REMOVAL
WALMART, INC.,

               Defendant.



        Defendant Walmart Inc. hereby gives notice of the removal of the above-

captioned action from the Fourth Judicial District, Lawrence County, Circuit Court of

South Dakota, Case No. 20-45, to the United States District Court for the District of

South Dakota. In support of this notice, Defendant states as follows:

        1.     Defendant removes this action to Federal Court based upon diversity of

citizenship jurisdiction.

        2.     Plaintiff filed the above-captioned original civil action on March 3, 2020, in

the Fourth Judicial District, Lawrence County, Circuit Court of South Dakota, and served

Defendant with the Complaint on March 6, 2020.            Plaintiff thereafter filed his First

Amended Complaint and served Defendant with it on March 13, 2020. Defendant has

timely removed this matter within thirty (30) days. This action is wholly civil in nature.

The United States District Court for the District of South Dakota has original jurisdiction

under 28 U.S.C. § 1332, and Defendant may remove the action pursuant to 28 U.S.C. §

1441.

        3.     This Court has diversity of citizenship jurisdiction over this matter because

the controversy is between citizens of different states and the amount in controversy
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exceeds $75,000.00 exclusive of interest and costs. Plaintiff is a citizen of South Dakota,

while Walmart is a Delaware corporation with its principal place of business in Bentonville,

Arkansas.

       4.      Specifically, Plaintiff alleges that “Plaintiff is a South Dakota resident

currently residing in Spearfish, S.D.”           (Exhibit A, First Amended Complaint ¶2).

Accordingly, Plaintiff is a citizen of South Dakota. Plaintiff further alleges that “Defendant

is a Delaware corporation . . . with its headquarters located at 708 SW 8th Street,

Bentonville, Arkansas 72716. . . .” (Exhibit A, ¶3) Therefore, Defendant is a citizen of a

state other than South Dakota.

       5.      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs. As relevant here, Plaintiff's First Amended Complaint requests “1.

Compensatory Damages for lost pay, bonus and benefits, in the present amount of

$1,000, or according to proof as Plaintiff’s weekly damages increases1;” and 2.

“Punitive/Exemplary Damages in an amount necessary to both punish and convince

Defendant that it must not again act with oppression, malice and intimidation with its

employees.” (Ex. A, Wherefore Clause). Plaintiff’s compensatory damages for lost pay

equal approximately $64,000. Plaintiff alleges that he was an assistant store manager

with an annual salary of $48,500. See id. ¶ 7. Including bonuses, the Plaintiff alleges that

assistant store managers earn $64,000 annually. See id. ¶ 9.

       With an expected trial date of at least one year from now, the Plaintiff’s lost wages

damages alone are approximately $64,000. See Fenlon v. Burch, 2015 WL 928558, *3

(E.D. Mo. Mar. 4, 2015) (“Moreover, measuring lost wages through the time of trial [for

purposes of amount-in-controversy] better comports with common sense.”). The Plaintiff’s

1
  Defendant alleges that Walmart awards most of its employees at most a 2% annual pay raise. (Ex. A,
¶9)
                                                  2
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punitive damages claim, taken together with his $64,000 of lost wages, causes the

Plaintiff’s total damages to exceed $75,000. See, e.g., Kim v. Nash Finch Co., 123 F.3d

1046 (8th Cir. 1997) (affirming $300,000 punitive damages award in employment

discrimination and retaliation case); Blackmon v. Pinkerton Sec. & Investigative Servs.,

182 F.3d 629 (8th Cir. 1999) (requiring district court to reinstate $100,000 punitive

damages award in retaliation and sexual harassment suit). Because of the nature of the

Plaintiff's claimed damages, Walmart has a good faith belief that the Plaintiff's alleged

damages exceed $75,000. Accordingly, the amount in controversy exceeds $75,000,

exclusive of interests and costs. 28 U.S.C. § 1446(c)(2)(A).

       6.     Defendant files this Notice of Removal pursuant to 28 U.S.C. § 1446 within

30 days of service of the Complaint.

       7.     Defendant expressly reserves all defenses to Plaintiff's claims, including, but

not limited to, all defenses based in law, equity, statute, constitution, jurisdiction, or

immunity, any other defense or avoidance, and does not waive any defense by this

removal.

       8.     Attached as Exhibit “A” and incorporated by reference is a true and correct

copy of the state court pleadings served upon Defendant and removed by this notice.

Exhibit “A” is a true and correct copy of all filings known to Defendant in the Fourth

Judicial District, Lawrence County, Circuit Court of South Dakota. To Defendant’s

knowledge, no other pleadings or papers have been filed with such court.

       9.     Attached as Exhibit “B” is a true and correct copy of the Notice of Filing of

Notice of Removal which has been served with this document on all parties and will be

filed with the Fourth Judicial District, Lawrence County, Circuit Court of South Dakota.

       10.    Defendant requests trial of this matter in Rapid City, South Dakota.

                                             3
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       WHEREFORE, Defendant notifies the Court of the removal of this action from the

Fourth Judicial District, Lawrence County, Circuit Court of South Dakota to the United

States District Court for the District of South Dakota.

       Dated this 3rd day of April 2020.
                                         WALMART INC., Defendant.

                                         By: s/Christopher R. Hedican
                                             Christopher R. Hedican (SD# 3659)
                                             Michael Roccaforte (pro hac vice pending)
                                             BAIRD HOLM LLP
                                             1700 Farnam St, Ste 1500
                                             Omaha, NE 68102-2068
                                             Phone: 402-344-0500
                                             Facsimile: 402-344-0588
                                             E-mail: chedican@bairdholm.com
                                             E-mail: mroccaforte@bairdholm.com
                                             ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 3, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following:

       none

and I hereby certify that I have emailed this document to the following non CM/ECF
participants:

       Matt Nasuti – mattnasuti@hotmail.com

                                                    s/ Christopher R. Hedican




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